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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                   *
UNITED STATES OF AMERICA                           *
                                                   *
                v.                                 *         Criminal No. SAG-21-0287
                                                   *
DAYTRON JOHNSON,                                   *
                                                   *
                                                   *
*      *       *       *       *      *        *       *      *      *       *       *     *       *

                                   MEMORANDUM OPINION

       On July 29, 2021, a grand jury returned an indictment charging Daytron Johnson with

possession of a firearm by a prohibited person, possession with intent to distribute a controlled

substance, and possession of a firearm in furtherance of a drug trafficking offense. ECF 1. At an

initial appearance and detention hearing on November 8, 2021, United States Magistrate Judge A.

David Copperthite issued an order of pretrial detention. ECF 11. On December 22, 2021, Johnson

filed a motion to reopen the detention hearing to seek temporary pretrial release in light of the

COVID-19 outbreak at the Chesapeake Detention Facility (“CDF”). ECF 19. Judge Copperthite

reconsidered his order of detention and considered the propriety of temporary release, but

ultimately affirmed his previous detention order. ECF 28. Johnson filed a motion appealing the

decision to this Court, which has now been fully briefed. ECF 30, 33, 35. This Court has reviewed

the briefing, Johnson’s medical records, and the recording of the detention hearing held before

Judge Copperthite, and has asked the United States Marshals Service (“USMS”) to provide

information regarding Johnson’s vaccination status. In light of the extensive record, no additional

hearing is necessary to resolve this appeal. See Loc. R. 105.6 (D. Md. 2021); United States v.

Martin, 2020 WL 1274857, at *3 (D. Md. Mar. 17, 2020) (finding “ample authority for the

conclusion that the Court may decide [an appeal of a detention or release order] on the filings . . .



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as opposed to a hearing.”). For the reasons that follow, Johnson’s appeal will be denied without

prejudice to its renewal under certain conditions.

I.     FACTUAL BACKGROUND

       Johnson is a 27-year-old lifelong resident of Baltimore. Prior to his incarceration for the

instant offense, he lived for one year with his girlfriend, their infant, and her 5-year-old child from

a prior relationship. His girlfriend is unemployed and has no prior criminal history. It has been

represented to the Court that she received her first dose of COVID-19 vaccine this week. The two

children in the home are not vaccinated, although one appears to be of an age where the vaccine

could be administered.

       Johnson is clinically obese and has diabetes, high blood pressure, and asthma. Medical

records from CDF indicate that Johnson’s health conditions are generally well-controlled and that

he often declines the recommended diabetes treatment.

       Johnson received his first dose of an mRNA COVID-19 vaccine upon his arrival at CDF

on November 11, 2021. Despite his repeated requests, he has not received a second dose as

recommended.

II.    STANDARD OF REVIEW

       Pretrial detention and release are governed by the Bail Reform Act (“BRA”), 18 U.S.C.

§§ 3141, et seq. The government is permitted to seek pretrial detention of a defendant who poses

a serious risk of flight. Id. § 3142(f)(2)(A). The BRA instructs the Court to seek “the least

restrictive further condition, or combination of conditions, that such judicial officer determines

will reasonably assure the appearance of the person as required and the safety of any other person

and the community.” Id. § 3142(c)(1)(B). However, if the Court finds after the hearing that “no

condition or combination of conditions will reasonably assure the appearance of the person as




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required and the safety of any other person and the community,” the court “shall order the detention

of the person before trial.” Id. § 3142(e)(1).

        The Court’s determination is governed by four factors:

       (1)       the nature and circumstances of the offense charged, including whether the
                 offense is a crime of violence, a violation of section 1591, a Federal crime
                 of terrorism, or involves a minor victim or a controlled substance, firearm,
                 explosive, or destructive device;

       (2)       the weight of the evidence against the person;

       (3)       the history and characteristics of the person, including –

                 (A)    the person’s character, physical and mental condition, family ties,
                        employment, financial resources, length of residence in the
                        community, community ties, past conduct, history relating to drug
                        or alcohol abuse, criminal history, and record concerning
                        appearance at court proceedings; and

                 (B)    whether, at the time of the current offense or arrest, the person was
                        on probation, on parole, or on other release pending trial, sentencing,
                        appeal, or completion of sentence for an offense under Federal,
                        State, or local law; and

       (4)       the nature and seriousness of the danger to any person or the community
                 that would be posed by the person’s release.

Id. § 3142(g).

       Pursuant to 18 U.S.C. § 3145(a)(1), the attorney for the Government may file a motion for

revocation of an order of release issued by a magistrate judge. This Court reviews the magistrate

judge’s ruling de novo, and makes “an independent determination of the proper pretrial detention

or conditions of release.” United States v. Stewart, 19 F. App’x 46, 48 (4th Cir. 2001) (per curiam)

(unpublished); see also United States v. Clark, 865 F.2d 1433, 1436 (4th Cir. 1989).




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III.   ANALYSIS

       In his instant motion, Johnson seeks temporary release under § 3142(i). As described

above, when considering whether there are any conditions of pretrial release “that will reasonably

assure” a particular defendant’s appearance in court, and the safety of the community, 18 U.S.C.

§ 3142(f), Congress carefully prescribed four factors in the BRA that a court must consider, id.

§ 3142(g). Judge Copperthite considered those factors when issuing his orders of detention. None

of those factors refers specifically to whether the conditions of incarceration threaten the

defendant’s well-being. Instead, Congress focused the required inquiry on the defendant’s risk of

nonappearance and the danger that the defendant’s release would pose to other individuals. In

some circumstances, clearly, a particular defendant’s medical condition could reduce that

defendant’s risk of flight or danger to the community, and the health condition would therefore

fall within the factors appropriately considered in the context of § 3142(g).        Absent those

circumstances, however, a particular defendant’s health conditions, and the possible risks posed to

the defendant by incarceration, do not impact the § 3142(f) and (g) analysis. See, e.g., United

States v. Clark, 448 F. Supp. 3d 1152, 1156 (D. Kan. 2020) (“A defendant’s concerns that he or

she would face heightened COVID-19 risks if incarcerated would not typically factor into a

§ 3142(f) analysis, which focuses on whether the court can fashion conditions of release that will

reasonably assure the defendant is not a risk of nonappearance or a risk of harm to any others or

the community. The risk of harm to the defendant does not usually bear on this analysis.”); United

States v. Lawton, 2020 WL 1984897, at *1 (S.D. Ga. Apr. 27, 2020) (same); United States v.

Whyte, 2020 WL 1911187, at *4 (D. Conn. Apr. 8, 2020) (analyzing medical conditions under

§ 3142(i)); United States v. Aguirre-Maldonado, 2020 WL 1809180, at *1 (D. Minn. Apr. 9, 2020)

(“While the Court appreciates the unprecedented nature of the COVID-19 pandemic, Defendant




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has offered no reason why the pandemic would reduce his risk of nonappearance or the risk that

he poses to the community.”).

       However, as will be discussed below, the COVID-19 pandemic is relevant in the

assessment of whether a defendant’s temporary release might be appropriate under § 3142(i), and

will be considered fully in that context, in accordance with the Fourth Circuit’s order in United

States v. Creek, Criminal No. 20-4251 (4th Cir. Apr. 15, 2020), ECF No. 402 (directing the District

Court to consider in the first instance “the severity of the risk that the COVID-19 virus poses to

the defendant, given his existing medical conditions and the current COVID-19 situation at the

facility where he is being held, and whether that risk, balanced against the other Bail Reform Act

factors, rises to the level of a ‘compelling reason’ for temporary release under 18 U.S.C.

§ 3142(i).”).

       A.       De Novo Assessment of the § 3142(f) and (g) Factors

       Taking into account the nature of the charges against Johnson, the weight of the evidence,

and Johnson’s history and characteristics, including his current medical conditions, this Court

remains persuaded that Johnson poses a significant risk of danger to the community if released,

particularly in light of the statutory presumption that he should remain detained. See ECF 11

(finding applicable the rebuttable presumption against pretrial release provided in § 3142(e)(3)).

Under the § 3142(g) standards, then, this Court concludes that no release condition or combination

of conditions would reasonably assure community safety, and that his continued detention is

warranted.

       The analysis begins with the nature and circumstances of the charged offense. The

government has proffered that it has video evidence of Johnson possessing a firearm in furtherance




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of drug trafficking activities, despite his having a prior felony conviction. Such conduct poses a

grave risk to public safety.

       Turning to Johnson’s history and characteristics, his criminal history suggests an enhanced

risk of danger to the community. He either committed the instant offense while still under state

supervision for a prior drug distribution offense or on the first day he completed such supervision.

Either scenario indicates that Johnson was not rehabilitated and poses a continuing risk to

community safety.

       Moreover, and quite troubling to the Court, law enforcement agents went to Johnson’s

residence on August 16, 2021 to serve a warrant for his failure to appear at a Zoom proceeding.

Johnson’s reaction to the agents’ presence was to jump out the window and flee. That reaction

does not persuade this Court that Johnson is a particularly good candidate for supervision by

Pretrial Services.

       As noted below, as part of assessing the history and characteristics of the defendant, this

Court has considered Johnson’s medical condition and has reviewed his medical records from the

detention facility. Johnson has a litany of medical diagnoses. However, despite the fact that he

has frequently declined diabetes care recommended by his medical providers, he appears to be in

relatively good health. The medical diagnoses appear to be longstanding health conditions, not

new ones, and it appears that he would have had the same conditions at the time he allegedly

committed the instant offense. Thus, this Court is not persuaded that Johnson’s health conditions

in any way decrease the danger he poses to the community upon release. He therefore has not

rebutted the presumption that he should be detained as a danger to the community.




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       B.      Request for Temporary Release Pursuant to § 3142(i)

       Having found detention appropriate under § 3142(f), this Court must consider temporary

release pursuant to § 3142(i), which permits “the temporary release of the person, in the custody

of a United States marshal or another appropriate person, to the extent that the judicial officer

determines such release to be necessary for preparation of the person’s defense or for another

compelling reason.” This Court must assess whether the COVID-19 pandemic provides “another

compelling reason” justifying temporary release under § 3142(i). Prior to the instant pandemic,

this provision was “sparingly” used to justify temporary release for specific medical treatments,

such as cancer surgery or chemotherapy. See, e.g., United States v. Hamilton, 2020 WL 1323036,

at *2 (E.D.N.Y. March 23, 2020). Courts have been considering and employing § 3142(i) in a

more widespread fashion in the context of COVID-19. The well-reasoned opinion in Clark, 448

F. Supp. 3d at 1157, sets forth four factors to be considered: (1) the original grounds for detention;

(2) the specificity of a defendant’s COVID-19 concerns; (3) the extent to which the proposed

release plan is designed to mitigate or exacerbate other COVID-19 risks to the defendant; and, (4)

the likelihood that a defendant’s release would increase the COVID-19 risks to others. 1 The

Defendant bears the burden of establishing those factors. See United States v. Sanders, 450 F.

Supp. 3d 1123, 1127 (D. Kan. 2020). “The question for the Court is whether the COVID-19 health

risks to the Defendant, should he remain detained, outweigh those traditional Section 3142(g)

factors and the COVID-19 health risk to the community that Defendant’s release could occasion.”

United States v. Hernandez, No. 19-cr-00158-PX-9, slip op. at 5-6 (D. Md. Apr. 29, 2020)

(emphasis in original). As the Fourth Circuit described in Creek, this court must weigh “the


1
 While Clark is not binding, this Court finds its rationale both persuasive and instructive, as have
numerous courts around the country, including in this District. See, e.g., United States v. Green,
2020 WL 1873967, at *3 (D. Md. April 15, 2020).


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severity of the risk that the COVID-19 virus poses to the defendant, given his existing medical

conditions and the current COVID-19 situation at the facility where he is being held, and whether

that risk, balanced against the other Bail Reform Act factors, rises to the level of a ‘compelling

reason’ for temporary release under 18 U.S.C. § 3142(i).” No. 20-4251 (4th Cir. Apr. 15, 2020),

ECF No. 402.

       The specificity of Johnson’s COVID-19 concerns weigh somewhat in favor of his

temporary release. As noted above, Johnson has multiple medical conditions elevating his risk of

COVID-19 complications. In combination with his uniquely heightened risk, Johnson has only

been provided the first dose in the mRNA vaccine series, on November 11, 2021. Johnson

represents that he has been asking for the second dose but has not received a response. This Court’s

inquiry into the status of Johnson’s vaccinations revealed that the medical providers at CDF wait

until they have enough vaccine candidates to use an entire vial before opening one, in light of the

cost and scarcity of the vaccine doses. Accordingly, CDF concedes that it has not provided the

second vaccine dose to Johnson, although it expects to receive new vaccine stock shortly and has

represented that it will vaccinate him.

       This Court must consider Johnson’s COVID-19 concerns in light of the present viral

conditions in Maryland. It appears that the most common variant at this point, the omicron variant,

is less deadly than prior COVID-19 strains. 2 However, this Court is not privy to whether the

current outbreak at CDF consists only of omicron cases or of delta cases, which remain somewhat



2
 Once again, in the context of these release motions, federal courts are being placed in the position
of assessing individuals’ health risks from a pandemic that has defied the most learned experts’
attempts to predict its course. Public and scientific understanding of COVID-19 and its variants
changes on an almost daily basis, as does the situation with respect to viral prevalence in various
communities. While this Court has done its best to apply the most up-to-date understanding of the
scenarios in question, it has no doubt that this opinion will be almost immediately obsolete as
conditions change.


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existent to a decreasing degree. Further, it is widely recognized that full vaccination and boosting

does not eliminate all risk of infection or all risk of severe complications, even from the milder

omicron variant. Persons with risk factors who have been fully vaccinated and even boosted

remain at some risk, and the risk appears greatly enhanced for those who are not fully vaccinated.

Johnson, through no fault of his own, does not enjoy the protections of full vaccination, thus

placing him at particular risk. CDF’s track record with respect to Johnson’s vaccination does not

give this Court confidence that his particularized risk is being addressed.

       Johnson makes other arguments about the generalized conditions at CDF for all detainees,

including the type of masks the facility is providing to its inhabitants. This Court does not doubt

or dispute that persons in a congregate living situation are at increased risk of viral transmission.

Further, this Court understands that serious questions have been raised about whether the

protective measures at CDF could be improved. The overall conditions at CDF, however, are at

issue in separate litigation and are not appropriately determined in the context of this detention

dispute. See Hernandez, No. 19-cr-00158-PX-9, slip op. at 5 (stating, in a similar context,

“Although the pendency of that action does not restrict this Court from assessing Defendant’s

motion under the Bail Reform Act (which, necessarily, requires an individual assessment of

Defendant’s situation to include COVID-19 risk), some recognition of principles of comity is

appropriate to promote the twin goals of avoiding ‘an unnecessary burden on the federal judiciary’

and preventing ‘the embarrassment of conflicting judgment.’” (quoting In re Naranjo, 768 F.3d

332, 348 (4th Cir. 2014) and Church of Scientology of Cal. v. U.S. Dep’t of Army, 611 F.2d 738,

750 (9th Cir. 1979))). Thus, it would be inappropriate for this Court to consider the situation at

CDF more broadly, other than in the context of the simple application of the BRA to Johnson.

Ultimately, Johnson has established that he is presently at a particularly increased risk of serious




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complications from the COVID-19 virus, by virtue of his continued detention at CDF without

having the benefit of full vaccination.

        The final two Clark factors, though, involve the nature of the proposed release plan,

including the extent to which it is designed to mitigate Johnson’s exposure to the COVID-19 virus,

and the risk that Johnson’s release would pose to the community. Clearly, release would allow

Johnson to immediately avail himself of the second dose of the mRNA vaccine, which would be

beneficial to him. But this is not a situation where the degree of outbreak at CDF is grossly

disproportionate to the outbreak in the remainder of society. Maryland is positively overrun with

COVID-19 infection at present, with a record number of daily infections and a test positivity rate

approaching 30%. See Maryland COVID-19 Data Dashboard, MD. DEP’T OF HEALTH: COVID-

19 OUTBREAK, https://coronavirus.maryland.gov/ (last visited Jan. 10, 2022). 3 Those numbers,

moreover, likely underrepresent the actual prevalence of the virus, given the number of

asymptomatic individuals and the number of persons who test positive using at-home antigen tests

that are not reported in the official tally.

        Johnson’s proposed release plan would place him in a residence with an adult who is not

fully vaccinated and with two unvaccinated children. As noted above, the risk of both viral

infection and severe complications is greatly enhanced in persons who have not been fully

vaccinated. Thus, Johnson’s plan would involve removing him from a facility in which COVID-

19 is rampant to a residence where he would risk passing that virus to three not-fully-vaccinated

individuals. Moreover, those individuals, who are at increased risk themselves from the rampant




3
 This Court may take judicial notice of factual information set forth by the Maryland Department
of Health in the ordinary course. See Hall v. Virginia, 385 F.3d 421, 424 n.3 (4th Cir. 2004) (court
may take judicial notice of voting-age population statistics which are publicly available on the
official redistricting website of the Virginia Division of Legislative Services).


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societal transmission, would be at increased risk to transmit the virus to Johnson, because he too

is not fully vaccinated.

       This Court understands that the proposed third-party custodian has begun the vaccination

process but will not be fully vaccinated until receipt of two doses of the vaccine, plus the two-

week period necessary for the vaccines to take fully effect. This Court also understands that there

may be alternative living arrangements for the minor unvaccinated children, although the

feasibility of those arrangements in light of the children’s ages is questionable.

       For those reasons, this Court does not presently believe that, under present circumstances,

Johnson has met his burden to establish a compelling reason justifying his temporary release from

pretrial detention pursuant to 18 U.S.C. § 3142(i).         He continues to pose a danger to the

community.     While this Court acknowledges significant COVID-19 risk to Johnson from

remaining in the communal living facility at CDF without full vaccination, it does not believe that

the proposed release plan greatly decreases the risk to Johnson, and it believes that the proposed

release plan would increase the risk to the health of others (if not also to Johnson himself). This

Court is hopeful that CDF will offer Johnson his second vaccine dose promptly as promised. The

Court will make periodic inquiries to the USMS for updated medical records to track the progress

of his vaccination status. If, before that occurs, the proposed third party custodian is able to provide

documentary evidence of full vaccination, this Court will reconsider whether temporary release is

appropriate to facilitate Johnson’s completion of his vaccine series.




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IV.   CONCLUSION

      For the reasons set forth above, Johnson’s Appeal, ECF 30, is DENIED without prejudice.

An accompanying Order follows.



Dated: January 11, 2022                                                 /s/
                                                        Stephanie A. Gallagher
                                                        United States District Judge




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